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                                             EXHIBIT              4
                               fN THE UNITED STATES DISTRICT COURT
                                  FOR WESTERN DISTRICT OF TEXAS
                                          AUSTIN DiVISION

                                   AFFIDAVIT IN SUPPORT OF AN
                                  APPLICATION FOR A COMPLAINT


       I,       REYNALDO ALATORRE, JR., being first duly sworn, hereby depose and state as

follows:


                            INTRODUCTION AND AGENT BACKGROUND


           1.       I   am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF), United States Department of Justice, and have been so employed since July

2001. Prior to my employment with the ATF, I was employed as a Border Patrol Agent for

approximately four years. As a result of my training and experience, I am familiar with fireanns

and with Federal Firearms Laws, including Title 26 offenses concerning destructive devices.          I


have also discussed this investigation with other ATF Special Agents with specialized experience

in Destructive Devices (explosive device(s)) and Destructive Device investigations.


           2.        This affidavit is intended to show only that there is sufficient probable cause for

the requested arrest warrant and does not set forth all of my knowledge about this matter. The

investigation described below is at its preliminary stages and facts continue to develop.       I

responded to the scene on March 2, 2018 as well as the scene of the second explosive device on

March 12, 2018. I also responded to the scene on March 18, 2018. I am relying on my

observations of the scenes as well as the facts and infonnation gathered from other law

enforcement described below. All facts are relayed in sum and substance.
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          3.     As a result of my training, my experience relating to these statutes, and the

experience of senior Special Agents and investigators,    I   believe that there is probable cause that

N'Iark   Conditt committed the following offenses:



                 Title 26 United States Code § 5861: It is uulawtiil fbi any person to possess a
                 firearm (defined as including a Destructive Device) that is required to be
                 registered with the National Firearms Registration and Transfer Record and is not
                 so registered or to transfer a firearm (including a Destructive Device) to a person
                 to whom the firearm is not registered.

                                            PROBABLE CAUSE


          4.     Your Affiant is familiar with the information contained in this affidavit, either

through personal investigation or through reports and discussion with other law enforcement

officers, who have participated in and have contributed their investigative efforts in this matter.


          5,      On March 2, 2018, at approximately 6:55 am, at 1112 Haverford Drive, Austin,

Texas 78753 in the Western District of Texas, an explosion occurred on the front porch of the

single story brick residence, resulting in the death of Anthony S. House.              Analysis of this

explosive device by the ATF lab determined that the powder found inside the device was

                        owder.

           6.     On March 12, 2018 at approximately 6:44 am at 4806 Oidfort Hill Drive, Austin,

Texas 78723 in the Western District of Texas, an explosion occurred inside the residence,

resulting in the death of a 17-year old victim and injuries to an additional victim, Preliminary

analysis of the explosive device revealed that it utilized                    as part of the triggering

mechanism.

           7.     On March 12, 2018 at approximately 11:50 am at 6706 Galindo Street, Austin,

Texas 78741 in the Western District of Texas, an explosion occurred outside of the residence,
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sending one person to the hospital with injuries. Based on communications from the victim, the

package containing the explosive device may have had the address "6705 Galindo" written on it.

Preliminary analysis of the explosive device revealed that it utilized                        as part of the

triggering mechanism.

         8.         On March 18, 2018, sometime before 9:00 pm, an explosion occurred near the

block of 4800 Dawn Song Drive and 4721 Eagle Feather Drive, located in the neighborhood of

Travis Country, Travis County,          Texasn location       within the Western District   of Texas. Two
individuals were injured. A witness was interviewed who resided in the area of the explosion.

       toted that   wheneturned toon1e at approximately 8:25 pm                           aw a "Drive Like

Your Kids Live Here" yard sign with red backing and white letters that had not been present

when Sleft her home. Preliminary analysis of the explosive device revealed that                 it.   utilized a

___________as part        of the triggering mechanism. I believe, based on interviews with the witness

and the preliminary analysis        of the scene, that   the sign was utilized to facilitate the concealment

of the explosive device.

         9.         On March 20, 2018, at approximately 12:45 am, at the FedEx processing center in

Shrtz, Texas,        a.   package in FedEx custody exploded. At approximately 7:00 am on March 20,

2018, a package was located at the FedEx facility located near the Austin, Texas airport at 4117

MeKinney Falls Pkwy. The package was addressed to                                                     located in

Austin, Texas. That package was xrayed and an explosive device was found inside, Law

enforcement was able to render the device safe. Preliminary analysis of the device revealed that

it   consisted of' a l'VC pipe casing with a metal pipe inside surrounded by shrapnel. The device

utilized                     trigger. The trigger was designed to ignite the device creating an explosion

when a iiap   of the package was opened,
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        10.       Information from FectEx revealed that bath packages discovered on March 20,

2018 were sent. by the same individual at a FedEx location in Austin, Texas on Brodie La on

March 8, 201 8. Video footage was recovered from the FedEx and revealed that a single white
        1




mate individual shipped both packages. He was wearing gloves and a hat in the store. He paid in

cash. It appeared that he was wearing a wig. The Fedflx clerk was interviewed by law

enforcement who dealt with the customer who sent the packages The clerk stated that the

customer was in his mid 20s, was wearing gloves, had a pasty white complexion, was wearing a

green shirt and blue jeans and was wearing a hat and a wig. When the customer left, the clerk

saw him get into a red truck. The clerk was shown a stock photograph    of a 2002 red Ford pickup

truck and the clerk said it was consistent with the vehicle that the customer got into. A

store in the same shopping center as the FedEx had exterior cameras that showed a red IMckup

truck with extended cab similar in appearance to a Ford Ranger in the pal-king lot approximately

10   minutes prior to the time the customer was in the FedEx.

            11.   The investigation is continuing for all of these incidents and this information

continues to develop as the investigation continues, but law enforcement believes these

explosions were likely caused by Destructive Devices. Law enforcement has assessed that the

explosive devices shared commonalities, such as the delivery method, contents of the explosive

device, and the manner of detonation. All six explosive devices used shrapnel. Law enforcement

believes all six devices are linked.

            12,   Multiple other individuals were investigated for potential links to these

Destructive Devices. None of those persons were deemed likely to he involved. Our

investigation is ongoing.

            13.   On or about February 27, 2018, a customer purchased several items at Frye's
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Electronics store located at 12707 N MOPAC Expressway, Austin, TX 78727. The items

included five                              Battery Holder With Snap Connector, Preliminary analysis of the

explosive devices revealed that all six explosive devices utilized a                                 Battery

Holder With Snap Connector. The customer utilized a U.S. Bank credit card issued to Mark

Conditt, who according to Texas Department of Public Safety driver's license records, resides at

403 2     Street N, Pflugerville, TX 78660. Conditt has a 2002 Red Ford Ranger with an extended

cab registered to him.        \'ideo footage recovered from Frye's showed that the customer looked        to

be Mark Cortditt.

          14.        On or about March 13, 201$, at approximately 6:30 pm a red truck arrived at a

Home Depot in Round Rock, Texas. A white male walked into the store and purchased several

signs, including a "Drive Like Your Kids Live Here" sign consistent with the sign the witness

reported seeing related to the March 18, 2018 explosion. Also, the person purchased a 6 pack of

work gloves consistent with the gloves seen in the FedEx video from March l8 2018. The white

male seen on Home Depot video footage is similar in appearance to a photograph               I   have viewed

of Mark Conditt, That customer paid with cash.

           15.       A Confidential Source (CS1)           with multiple contacts with Mark Conditt was

interviewed on March 20, 2018. CSI was shown a single photo of Mark Conditt and

identified the photograph to be Mark Conditi. CS I was then shown the Home Depot video

footage from March 13, 2018, discussed in detail above. CS1 told law enforcement that the

photograph looked like Mark Conditt when asked how confident he/she was, CSI said he/she

was "93%" confident that the customer in the Home Depot footage was Mark Conditt CSI was

shown the                     footage of the red pickup truck, discussed above, and told law enforcement


  There   is   no crinin   hi,aory for   CS I.
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that the truck looks like Conditts truck. When asked how confident he/she was, CS1 replied

'70%."

         I   6.   According to Facebook pages viewed by other agents,

"liked" the               Facebook   pagethe same               where the explosive device discussed

above was addressed to.

         17.      Law enforcement took          thotographs of 403 2     Street N, Pilugerville, Texas

on March 20, 2018. Law enforcement also conducted physical surveillance of the address. A red

2002 Ford Ranger pickup truck was         observed at the home. The                           Footage


revealed multiple items in the bed of the pickup truck.   I   have seen the            xterior camera

Ibolage of the red pickup truck and I believe that (he items in the bed of the truck in that footage

are consistent with the items captured in the          thotographs of the truck at 403 2' Street N,

discussed above.

         18.      Information from social media revealed that Mark Conditt was utilizing a cellular

telephone with number                     Records revealed that                  is registered to Mark

Conditt's father. Cellular data for                  4iowed that there was no call activity en the

number during the following dates and times: March 12, 2018 from midnight until approximately

8:13 pm; on March 13, 2018, from 4:16 pm until March 14, 2018 at 9:06 am; on March 18, 2018

from 4:32 pm until March 19, 2018 at 8:41 am. Therefore, there is no currently available data

placing the phone utilizing number                     it either at the scene of the explosions or at

 Home    Depotnor      is their data placing the phone utilizing number                    at locations

 other than the scene of the explosions or Home Depot. Phone call records for

 show that between March 12, 2018 and March 20, 2018 the phone utilizing number

         made calls to a garage door companypreliminary analysis of the explosive devices
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rcvc1ed that wiring utilized in the device was consistent with wiring used on



        19,   The Government has not found any information of a registered Destructive

Device for any of the victims of these Destructive Devices or locations of the expIasians making

the possession or transfer to them unlawful. ATF conducted a query on March 20, 2018 and

confirmed that Mark Cendite does not have a registered Destructive Device in his name nor is

one registered to his address; his possession of a Destructive Device would therefore be

unlawful.

        20.   The address of Mark Conditt on his drivers license and vehicle registration differ

between 402 N 2    St and 402     2' Street N. Investigators have determined that they are the same
location.

        21.   In my training and experience and that         of other experienced ATF agents with

expertise in Destructive Device making and explosives, 1 know and have learned that Destructive

Device manufacturers often research their targets using the internet and electronic means.

Destructive Device.rnnkcrs often research methods of constructing Destructive Devices, as well

as information related to     motive for using explosives, using the internet and other electronic

devices, Furthermore,   1   have learned that in this case there is some evidence that Mark Conditt

has used the internet to look up the FedEx location where two      of the devices were mailed from,

as described above,   Additionally, 1 know that electronic devices often contain records of' location

and that information would be relevant evidence in this case.

        22.    Based on my training and experience,      1   know that anyone who manufactures or

deals in explosives must be licensed by ATF to do so, and that the storage        of explosives in   a

residence or vehicle is in violation of licensing and storage requirements defined by law,
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Furthermore,    I    know that due to the volatile nature of explosive materials, their improper

tuanufueture ajal storage poses an extreme danger to the individual/dealer, as well as nearby

residents and their property. Fina1ly there have been numerous documented instances of similar

clandestine unlawful explosive operations in buildings wherein there have been fatalities and

substantial PropertY damage.

          23.   ATF Explosives Enforcement Officer                            examined the evidence

recove red from the first device recovered on March 2, 2018 and confirmed it to be a Destructive

Device.

          24.   Your Atfiant knows through his training and experience that per the National

Firearms Act of 1934 destructive devices are required to be registered in the National Firearms

Registration and Transfer Record.

          25.       Based on the above, I respectfully submit that there is probable cause to believe

that Mark Conditi violated Title 26, United States Code Section 5861.


                                                       Respectful   submitted,



                                                       REYN LD ALATORRE, JR.
                                                       Special Agent
                                                       ATF
          Subscribed and sworn to
          on March 20, 2018:



          HON. MARK LANE
          UNITED STATES MAO
                                             J
                                          RITE JUDGE.
